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EXHIBIT 26

EXHIBIT 26

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Page l ofl

From: Allen Rupp

To: kevin@exoticengine.net; Kevin Singleton
Date: 1/19/2009 7:50:39 AM

Subject: FW:

Kevin,

I have Signed your copy!

Tha.nk you!

Allen

Allen Rupp

CEO

Bully Dog Technologies, LLC.
office: 208-226-2500| fax: 208-226-2511

email: all§_n@bullyd.@:g,§gm l web: www:hul.kyd@g=§gm

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EXHIBIT 27

EXHIBIT 27

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Page 1 of l

From: Mike DeFord

To: kevinsingleton@carthlink.net
Date: lf29/2009 8:18:59 AM
Subject: 'I`ruck wrap training

Morning Kevin

ljust spoke to our vinyl guys that do all of our trucks, trailers, etc. This is the company that l told you would come
train your team how to do wraps and all that They would like to know what works schedule wise for your team
What does February look like end then do certain days work better. 'l'hey are thinking that it will take 3 days but
wanted to know which days of the week work best for you.

l_et me know, thanks

lillike DeFord
Bu|ly Dog Technologies

Marketing Manager
(877)285-5936 X-1413 Phone
(203)226~2511 Fa)¢

Bully Dog 'I`eetmolo¢les, LLC is o team hunt on integrity that is dedicated to leading the vehicle performance industry with an oncompromlslng code of ethlel
demonrtrnted |n the soundness ofll_\ employeee, excellent customer service and superior products.

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Thread: Lucas Oil American Off'Road Serie_t Schedule...

 

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Re: Lucas Oil American Off-Road Series Schedule...

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Re: Lucas 0il American Off-Road Ser'iE Schedule...

Hesperia, CA {_`I.=ini_iaiy 9, 2009) Lucas Oii L\mencan Off~Roed Series will kick off its 2009 insugura|
season on Aprii 4th & Sth at the Primm Va||ey Motorsports Coi'np|ex in prrmm. NV,

"‘Lucas Oil American Off-Road Series will prove to be the premier short course racing series in 2009."
- Tonv Vanil|o, CEO, Lucas Oi`i An'ierican Off“Road Series

The 2009 schedule is as follows:
| April 4-5 Prrmm Val|ey Mcil:orsports Comp|ex, Primni NV
| Msy 2-3 Speedworld Motoi‘spor‘ts Park, Wittn'iar'iri, AZ

| JLine 27-28 Kal Gard Motorsports Comple)<, Lake Eisinore, CA
| Aug 22-23 Kal Gard Motorsports Compleir, Lake E|sinore, CA
l Oct 17-18 Speedv-rorld l~lotorsports Parl<, \.”.littn'iann, AZ

| Nov 14-1.5 Pi'imm Valley Motorsports Conipie)<, Primn'i, NV

"Li_icas Oil Products is lending its full support to Toriy and Sherry Vanil|o, to help guide short course
off-road racing in a new drrecl:ion. Lucas Oil has been involved in off-road racing for almost twenty
years and l cannot remember a time lr-rhen the sport has needed leadership more than now. l believe
the Varii||os have the right business concept, the sponsorship support, driver support and promoter
involvement to make this new series viable. Lucas Oi| is committed to this Senes and is proud to have
it called the Lucas Oi| Amerrcari Off Road Series. Lucas Oi| Studios will be providing the television
production services, with 13 original one hour l-iD episodes airing on SPEED. Addit`iona| coverage of
selected classes within this Series will :-i|so be featured on the Outdocir Char'inel." - Bol:i Patison,
Executive Vice-President, Lucas O`i| Products

"We are very excited to be involved with the series and to be working with companies |il<e Lucas Orl
and General Tire. This marks a new and great direction in off-road motorsporl:s. i".le are proud to be a
part of it." - Mrke DeFord, EiLi|l\.l Dog Technologies

"General Tire is proud to be apart of the l_ucas Oil Amei'icari Off*Road Series iri its inaugura| year.
General `i’ire has had a long standing partnership with Lucas Oi| and this is just the next step in our
continued support of Li_icas Oil events We are committed to providing products for short course
racing in 2009 and will contrnue tci support the off-road community with the same excitement Ger‘ieral
Tii'e brought to desert racing in 2008."

- Ti'avis Roffler, Director of Marketing, Genei‘a| Tii'e

This high impact, televised series will showcase the following 2WD & 4WD truck classes:

CaS€ 3111-0%-@9%§§-;§§{&§§/§§¥§£§@?§%§§¢5§ 3331-itt l'-§let@ll©¢i/ll/ll rage 12 of 24

l l_lnliniited l_ite Cornpact,f`Mid-sized 2WD race vehicles, 4 cylinder engines, 300 HP
l Super Lite Mid-size ZWD, two seat, 200 HP

| unlimited Buggy 1650 cc water-cooled 4 cylinder and VW `|'ype 1 engine
|i_imited Buggy 1600 cc VW Type 1 engine

l KART Sing!e seat,. custom-built mini race trucks, Drivers 8 - 15 yrs o|d. 50 MF‘H

Additlonal Sponsors and Sponsorship packages will be announced in upcoming weeks

About Li_icas Oi| American Off-Road Series

Lucas Oil Ainerican Off-Road Series was formed by Tony Vani|lo in 2009. Lucas Oi| Arrierican Off- Road
Senes is based in Hesperia, Ca|ifornia and is a short course racing sanctioning body The series was
born from a style of racing which began in the early 70's and hit mainstream in 2006. Lucas Oil
!-\n'ierican Off-Road Senes brings intensey adrenaline, action-packed racing to spectators and
television viewers w‘.vw.americanoffroadseries.con'i

Now this lust made My day!

lts really nice to know that short course racing is VERY ALIVE AND WE|_L!

and it could not tie in better hands than it is right now.

`lony, Many Thanks to you and your staff for all of your hard work putting this together

Chuck

m Reply With Quote

    

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going to be on the MIC so that will be epic.

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gparmd n Re: Lucas Oil American Off-Road Se-r`ies Schedule...
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u…'“."' < 10 Oiiginaiiy posted by SEN“l |:'j

    

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sponsorship about even between WSORR and LOAOR (neither exactly rolls off the tongue like CORR

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totaiion ‘.'».iindnsm_rii-i course is not, in my mindl a good thing...
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l ]anueiry ch, 2009 12:-
';`nd"' MLM`"m Re: Lucas 0il Amer"ican Off-Road Ser'il:-§ Schedule...

Guest
I thought Elu|ly Dog was behind CORR 100°:.=?????

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l Janu;~iry ch, 2009 12:

TD7162 " Re: Lucas Oil American Off-Road Seiie_s Schedule...
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Li_icas Oil and their support of motoi'sports is awesome lt should be a great series with them as a

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u r 99 r Re: Lucas Oil Arner\can Off-Road Series Schedule...

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go Popu|ar wisdom in my camp says that 2009 will be a yard sale for short course .....

h

We‘ll see who does well enough to emerge as the pre-eminent series in 2010.

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,,'/;"'r m mo Looks to me like CORR's window of opportunity is closing fast....may not be enough racers to make a

decent field lF they ever come out with dates.…

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l january 9l;li, 2009 ]3:01

maker l Re: Lucas Oll Amerlcan Off-Road Series Schedule...

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Lucas O`il Off Road Rac`mg 5er`ies Announces Rev'ised Schedule l 's 11
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Lucas Oi| American Off- Road Ser'ies & Myrl Akerman--A Brief Coiwersation...
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MAIN ABOUT BLOG CONTACT PHOTOS

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o SCHEDULE

Arnen`can Fails. |D s Bull;. Dog Techhoiogies i.icl'etl oll‘the short course season this past Track
, , h weekend in F’rlmm tit at the Lucas Oil OffRoao race series in a big iiiia, o The Speed Tecl'inoiogies Bti|iy Dog Team
o P"\"`THER:’ Ruhs chie Open th SoCai
_ Durihg the long cit season the crew at Bui|, Dog hate been non-stop preparing tor what attirst c Speetl Techiiogies'Bi.illy Dog Celebrales
o p"‘ seemed lite an tihcenain luture. then iri late Deceml:er the company made a number 01 huge 2009 Short Course Season li‘ii'ith Pre.
announcements that t|ie;. were backing the i_ucas oil series that the;.‘ were forming a 'Facton` Season party
team iii‘ith 'Speed Technologies and then introduced a new class of racing_ SuperLite Four ¢ The Speed 'l’echnotogies Teum Charges
months later it came time tci see how that could pull it ott and pull it ottthe;i oidi into l.lay Upon Tha Of'l Roai:i Racing podiu
o Bul|v Dog increases Off Roatl lhvoliiemen
`~. lot of sort has gone into all oithese projects during the winter it has been a ton ot haro wori' F.;,r 2009 011 nom Ragmg games

and there are a lot ol‘ people |n'~'o|'.ed in each ol' these projects Each deserves to be recognized
.lol'in Harrah. i\'e'.‘in Singietoni Chuclr Dempse_, and the entire Speed Techhologies cre'vi-'. our
start at Buil_. Dog as weil as some re-, people on the outside such as Eric i.!orei,.‘ and the crew at
Btus C and of course Ton_: and Sherr_i '-.'aniiio soo their start and the group at l_ucas »`-.s l sat ih
the i-iot Pits Suncl:-i;. afternoon watching the tdi/2 race itall sort ot hit me_ howtarthis whole thing
has come and iri such a short timel it was amanng!` stated t.tii<e DeFord ol Elull, Doo.

The tactcr, Etili_. Dog.~'$peed Tei:hi‘ie.logies team pro'~ided the best results that EiuiirDog has
etperiehced in of‘l road racinp_ in theirtlrst couple of years the companies others never reached
the top ot the podium. put this iiveei'.end in F’rin'irn they gotthere twice With Chuci-' Dempse;i and
auth John Hari'ah Jr, the team also had tremendous success finishing up Sunda_. night with 2
\-iins and a total ol' 8 top fire nnisl'ies in 5 ditlerent classes

The next Lucas race is just around the corner in »-.Z the tirst vreeland ot l.la, ana the team rs
coming to Primm strong in 2 weel's lot the ElTD racer

The Speetl Techiiolpgies team nioulo not tie able to achieve the results that is has without the
support of the best companies invoi.'ett iri otl roact racing '.‘.'e would lil'e to than|»" Gooct Year
l'ii'e, Eitiii‘. Dop Tei:hno|ogiesi Lucas C‘-ii. So!teir_ Eiotic Engines and Ftingei's i'_`,io'\-es lortheir
support anti heiieiiii our race team

 

 

 

 

 

 

 

 

 

 

 

 

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5': Bgi;i F?gtiggn Bug;;. E.igg;.- 3#»3:\~_= Ca" Tene:e:c-" (_'hi_|i;l' Di;-|rlp§,i_>_. §c-zii:',".: i.~.'a=pape' iir'.:ts fc.:r‘::a: Z="'.Ei.'»es E):i'rc E"g‘-"t-s :ci'l'cs: Lu:d~; =e‘ Saie FOX R&C|!'lg St'tOI

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i“'r~ O[Oi" SDOF[S ?C'C s;:::‘;ei'a"'_et'“; "\ ie. ala Off Road Of`f Road Racing =3 §Lnr*.:-;-:: $-;-'a"i:i"-'.e-;: =-:_:e ti"-i"i:e"i Racg Qaci:- Fn::;

gate-facts :ia¢z.“rcci.?er:ai F<`ElCt-BTt'ttCKS Racing Rir~;e's 3.:.es Ea.ri Fei-;:-:- 253 SCCiREi'i:erna:ic'ia- Sociaii'eo-a Spf-,'Ei'_| T€:i§t`il‘iOngi€S Soeeri_-.- Supe-'l_ite
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EXHIBIT 30

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R¢'u as Schedule

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The Speed Technologies/Bul|y Dog team charges hard
at the Tl'250

Amerilcan Fai'l's, ID (Aprr'i 20,
2009) Afcer an amazing start to
the i_i.icas Oil Off Ftoad Race
Series in F»"rin‘im. N'~.»'.. the Speed
Technologies~‘Bui|y Dog Race
Team rolled back into primm:
this time for the Eest of the
Besert Territ:i|c"s 252 desert
race. The weekend started out
on high note Thursdav afternoon
-.~.ith John Herder qualifying itrd

E;h in Ciass ;.

Racing kicked off Frittei'g with the t

Trocih‘_v K.a't race. Last ',i'aar. the

teams young gun t~titchei|

De]ong. dominated this raco.

This -,'ear he pushed hard.

bottling for the lead for some time. and then once out front, checked out on the field. Hov.ev=ri luck
was not on his sidc. The rcigning champ had mechanical issues the second half of the race, putting
him out of ccn:entioi‘. i~teani~.hile, in the team‘s pi:. the Speed technologies team worked ‘.'.ell into
the evening prepping the cars for the race the ne:-tt da','.

A.nyor~e that has spent time in F'rimm :<nc:nis that the weather is usually always horrib|e. Saturdoy
morning ain-nice with near perfect conditions `i'he team was excited to get the race underi‘iav. John
Herdcr, leaving the line in Bi'd rocketed off chasing after Je"r‘,' ‘.-i.‘eichel. Three quarters of thr: way
through the first EC-n'ii|¢ lao, the car suffered transmission problems, losing fourth gear. Herder
being the competitor that he is, pushed on; but was soon side-lined after the first lap due to the
worsening transmission issue.

Chucic Dempsey on the other hand, '.~.as running flawlass. Nci~.- fourth on road. he '-'¢65 Cd°»¢hil'*¢ the
competitors ahead of him each mile_ it the conclusion of the second SL‘-mi|e lap, Chucic lnas vaulted
into the load on road '.'.hen '.iielchel and i~ict~lil|en collided. i-lo'.\=evr:r, avoiding their ecciclant, the car's
right front tire impacted a rock causing the team to have to pull over for a quick tire change. Co-
driven Lil John Amas, must have thought he was on a formula one pit stop crew as he lalias out of
the car', tire changed and back in only losing 2`: minutes on road to the competitors behind. The itrd
and final lap, Chuci< drove his heart out reminiscent of his drive at last vear's Baja ‘.DOD; where he
'.\as victorious. A: the conclusion of the race, the corrected times rivera so close it was anvonc"s
guess whether :he Speed Techno|ogies'Eu||v Dog Ti:am had cap:ured the overall. Corifident that
they had claimed the Class 1 victory, they waited for Casey and the crew at EI'TD to figure the
outcomc. ln the and, Chuci< and Li| John just barely missed the overali,. but secured the C|ass l win-

Also running at the same time. Johnny Harrah had seemed with iegcnd Chad Ha|l in the Speed
Technclcgies Class .G ca'. Johnn-,- coming off his win in the SuperLite class art the Lucas Series, had
his sights set on victo-‘v. however lilco Dempsev, an impact with a rock slowed the team clo'.-.n,
landing the team cf Ha'rah and Hal| Eird place in closs.

Ti~e Speed chhno|cgies,§u||‘,» Cog Tearn would like to thank their sponsors: Goodyear Tire for
providing an amazing tire. So|Te4 Lights. -'-‘.ingers Glcivr:sf and Eiroi:ic Engines. See you out iri the dirt
a: the next race

Bui‘ly Dog Technol'ogies, £LC is a team built on integrity that is dedicated to leading the
vehicle performance with an uncompromr`si`ng code of ethics demonstrated in the
soundness of rts employees, exccfil'ent customer service and superior products

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HEAD.LINES

Rarn.’l’ruek and Mopar-@
Artnounce TORC_Off-Road Racing
Sponsors_hip

 

TGRC's Dougles,Jenkins & Hord
travel overseas bo represent on
Arrried Forces Entertalnment Tour

 

Speed Tei:hriologies' Mltehell
DaJonq Leads Lui:es oil off-Road
Rac`rng Series

Lucas Uil Regi'ona| Off Road
Ftaoing Seriee bo |Cldc off T?\is
Weekend

TORC reschedulea Aprl| 30th
Texas.opener to October, Mich.'s
RedBud now opens the ‘11 TOR£
season

Greaves, Hart So'etch l.-egs in
Lucas Season Opener, prepare
fur TORC Seriel

 

 

 

nick Huseman Picics up Where He
Left OFF, Sweeps Luoas Sen'as
2`|11!. Season Ope'ner

Ups end Downs For Rob
imec_achren Az zim Loorts
Season Oneiner in Phoenix

 

 

 

M_enzies, Husaman and Deegari in
the Winners Cirdel!

 

LNE Updatu at LOQRRS Season
Opener

 

MacCachren, I-lus_eman and
Deegen Top Qualifiers at LDORR$

 

Rob MaeCQd'iren `Revs Up For
2011 LGOH.S Season Opener iri
Phoenix

 

4 Wheel Parts Bei:omes The
OFFscial O'ff Road P'arts Retailer of
the Lucas Oil Off Road ilaan
Serles

 

 

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2011 moss Oil fo-Road R.ai:ing

nick Husernari Recing Sets Si'ghts
on Lur.'as S¢ries. Rewes `Up for
2011 season

 

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Watch now bo discover
the upside of failure
through Danica Patn'ck.

Wzthonda.com

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EXHIBIT 31

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DAll_EY Fl‘l'STOP L§'r;_; LEMKE'S CORNER ‘r,‘( ROB MACCACHREN TECATE SCORE BA.M 1000 - RALLYNEM
<€ Ne:.s & Head!sne l\lain ¢;- ha
. . . r')‘i$.i'§." SYEELE n `-.'
Best in the Desert Racing Lands Two Major Networl<s ?,’__“rgx».§’c"
Fox Sports, Outdoor Channel to Air 2009 Races " ' '

Bully Dog, Torchmate Ink Sponsor Deals

Indi`anapoilis !N o March 19, 2009 - The iest in the Desert ;tacing .'-‘.ssoi:iatioi~, Sopi.-iith
Mcto.rsports Television »`rroductions. Bui|i,~ Dog Tei:hno|ogies and Tori:hmate Cut`ting Systems have
finalized one of the best television packages in off road racing after signing deals i.i.ith two major
cable ret‘.i.o-r»<s.

Fp)< Eports .-iiil air all five of the Buily Dog Bes: in the DesertT‘.i' car and truck races in 2005 in a
thirty-minute format on the following schedu|e:

Bul'ly Dog Best in the Desert Tvpreserired by Torchmal'e
E|ue ‘\"i'ater Rescrt ~'»‘ari»<er 425 Fo)< Spoi'ts -L:UC ptn blonday Ju|\r 20
Te-'rib|e's 25@ at D.rii'nm Fo>i Sports -i:EE prn htondai,i Jul',i 2?
'./egas to ;'.eno `The Loi"g '.`.`a','" Fo>-i Spor‘.s ~':OC pm Monday De:eml::er 6
Ei|ei< »”tacir‘g Silver Etate 300 Fox Spprts -L:DC pm l"-lor\dai,il Deceml:ier 13
Henderson Fab:ech Desert Classic Fo)»: Spoirts J:EC pm Monday December 20

A second major network agreement .‘.as just reached this week -.i.i:h Outdoor Channel to air
separate coverage of the Terrih|e's 250, ‘.-'egas to Reno, Siii.-er State and the Henderson Fabtech
Desert Classic as part of the:r "t-lotormania" program.

The Outooor Channe| program -.‘.ii| also r'ollow a thirty-minute format ‘.i.nen they air separate shows
in December (not a repeat of the Fc>c broadcastfi. The program will air in a consistent time slot for

consecutive meeks in December with exact dates to be announced soon. E-est iri the Desert Racing
on the Outdoor Channe| ‘.~iili receive distinct. tavorab|e time slots on both the east and west coas:s

in addition to one re-ai"ing of each prcgram.

Combznetl ~.-.ith existing contracts `.\iith l\TavT`.i' and the Arnerica One Sports Net‘.i.‘or'<, the 2509 Best

lr‘ the Desert television pac<age reaches more than '_5-& million |=ouseho|ds. "‘.‘/e believe this is .
unprecedented" said Sop-.tit|‘~ rilotorsports CEE: and executive produce.r Stepher= Cox. "OCCGSiGHa[|V ` _ ‘,",‘,`,,,,
a single event might get a little more coverage, but '.‘.-e're not a.‘.are of a desert racing series tha:'s ' “' ` """":" '

ever had this level cf coverage for its entire season.'

The title sponsor or' the entire ZCSE campaign is Bu|l-,/ Dog Techito|ogies (v.i.\¢.-;.E.u||yDog.com), weil-
known makers of exhaust systems, engine management systems and high performance products
tortruc<s. Eul|\ii Dog also sponsors the Eu|iy Dog.'Speed Technologies race team and has been a
Long time supporter cf off road racing in all its Fornns.

1the presenting sponsor of each 2009 broadcast is Torchrria:e Cuttinp Systerns

(ni'.‘.i,-.Torchmate.cpm). Tpri:hma:e's brand has been in constant demand |J\,l chassis makers and

fabricators throughout the off road racing community because it reduces metal consun~iption,

provides a superior cut ard saves money. Tc.rchmate also directly supports desert racing by fielding LEAD!NG TECHNOLOGY

truci< 2723‘. in all Best in the Desert races. WlNN[NG PEHFOanANCE

Regarding the 2509 broadcas:. Co> said, `This season ne -.\.ant to take a more personal looi< a: the SUPEHIOH SELECHUN
race teams and lFr.:|lp'.‘.- the stories of a handful of drivers more clcsely. ‘i=,'e want to highlight the

adventure the landscape and the incredible effort put in by these teams in a format :i~at`s a little

more ticsel-; reia:ed to a documentary style presentation ‘t".e`re going to s|o‘.-. things do-.~i'n and

really put people inside the event rather than Just offering an ove-rvie'.i- of the results."

,-'-tll slots r'or featured teams in the Fo;'t broadcast of the Terrible"s 256 are airead',' filled. as riel| as
half tl-e ‘.i'egas to ci.er'o program. -'t re;-. slots remain Forthe Ter.rib|e's 250 Outdoor Channei
broadcast although they are espected to fill by ne)-:: ‘.\ee‘»t. To be featured in an upcoming race.
teams should contact S¢p.i.iith Motorsports Television F‘roductions at 317-413-55§7.

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HEAD.LINES

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Jen'ol'lo Utal'\

 

Spirit Wireless Becomes NOP.RA
Sponsor

 

Ba|li'stic B€l Baldwin uses Home
Held Advantage To Wiri 2011
Gerieral Tira SN_ORE Mint 400

 

KMC UPDATE REG»\\RD[NG JAPAN
EARTHQUAKE AND U.S.-BASED
EMPLC|¥EE DONATION 'EFFORT'S

 

|Gng Shoclcs R,aoers DOMINATE at
SNDRE Mil'lt 400

 

THIS WEEKEND AT GLEN HELEN:
F£EM Seturdey MX, Li.ii:es Oil
short Coi.irse Regional *1 and
znd Annua| MTA Z-Strolite Wodd
Champiorish`ip

koger Norrnan Pcdiums at 2011
Mlnl: 400

 

 

R.oger Norman Gunning for Mii'sl:
400 R»tp¢at

 

Da`i|ev Moporsports heads to Las
Vegas for the Mint 400

 

Jesse lanes takes 2nd overall at
SCGR.E Maetert:raft SaFety San
Fe|ipe 250 Race in Beja Calif'ornia

 

MENZIES MGTDRSPORTS takes
on the Rioughe$t San Felipe 250
Ever

 

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